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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 CITIZENS UNITED,                                  )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )        Civil Action No. 18-0326 (CRC)
                                                   )
 U.S. DEPARTMENT OF STATE,                         )
                                                   )
                Defendant.                         )
                                                   )

                             DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s March 27, 2020, Minute Order staying these proceedings and

November 24, 2020, Minute Order, Defendant U.S. Department of State (“Department”) submits

the following status report and recommends that the Court extend the stay.

       As previously reported, on July 27, 2020, the Department entered Phase Two. Between

July 27 and November 25, 2020, bureaus were no longer required to maximize telework but were

encouraged to continue maximizing telework and extending telework flexibilities. However, in

light of rising COVID-19 cases across the country, the Department made an initial announcement

on November 25, 2020, that it was reverting to a more restrictive policy and, on December 21,

2020, announced that it was officially regressing to Phase One until January 18, 2021. Phase One

requires that offices maximize telework. While the Department is still assessing the impact the

regression to Phase One may have on its onsite FOIA litigation staffing, the Department anticipates

that this reversion to maximizing telework will further constrain the Department’s ability to

process its FOIA litigation cases, including obtaining clearances from internal Department and

external Executive Branch components, at least until January 18, 2021. Accordingly, there has

been no change to the Department’s ability to process this case.
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       In the interim, Plaintiff submitted a list of proposed search terms to narrow the scope of

the request at issue. The Department is amenable to Plaintiff’s proposal, subject to several

parameters that the Department has communicated to Plaintiff, including migration of this case to

a new review platform in order to complete the proposed narrowing. The parties expect to continue

their discussions and have an agreement in place once processing can resume.

       Consistent with the Court’s March 27, 2020, Minute Order, Defendant shall file another

status report by January 22, 2021, and continuing every thirty (30) days thereafter, advising the

Court whether the Department can resume operations in this case and, if so, proposing a schedule

to resume processing and productions.

Dated: December 23, 2020                    Respectfully submitted,

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                                            Acting United States Attorney

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                                            Chief, Civil Division

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